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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
 vs.                                             )   CRIMINAL NO. 06-30008-01-GPM
                                                 )
 MICHAEL J. ABBOTT,                              )
                                                 )
                       Defendant.                )


       ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
             GUILT, AND NOTICE OF SENTENCING
 MURPHY, Chief District Judge:

        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

 there has been no timely objection, the plea of guilty of Defendant Michael J. Abbott to Counts 1

 through 6 of the Indictment is hereby accepted, and Defendant is adjudged guilty of such offenses.

        A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

 Agreement pending review of the Presentence Investigation Report.

        Sentencing is hereby scheduled for Monday, June 12, 2006, at 10:00 a.m.

        IT IS SO ORDERED.

        DATED: 3/28/06


                                                     s/ G. Patrick Murphy
                                                     G. PATRICK MURPHY
                                                     Chief United States District Judge
